Case:19-17941-KHT Doc#:17 Filed:10/24/19                       Entered:10/24/19 14:20:26 Page1 of 2
(COB Form nopd.jsp #152)(10/11)
                                  UNITED STATES BANKRUPTCY COURT
                                              District of Colorado

Rodney A Long                      Case Number.: 19−17941−KHT
Debtor(s)                          Chapter: 7
Debtor SSN/TaxId Nos.:
xxx−xx−4485
84−1183311, 11−3715147, 84−1421075
Joint Debtor SSN/Tax Id Nos.:




Debtor(s)
aka(s), if any will be listed on the following page

                                     NOTICE OF POSSIBLE DIVIDENDS

It appearing to the Trustee that a dividend to creditors is possible;

Creditors are hereby notified that if they desire to participate in a distribution of assets, they must file a
claim with the court no later than 1/27/20 .

Pursuant to Fed.R.B.P. 3002(c)(1) and (5) a proof of claim shall be filed BY A GOVERNMENTAL
UNIT not later than 180 days after the date of the order for relief .

All claimants who are seeking an administrative claim must obtain a Court Order pursuant to the
Bankruptcy Code.



Proof of Claim Forms should be filed with:
                             Clerk of the Bankruptcy Court
                             U.S. Custom House
                             721 19th Street
                             Denver, Colorado 80202−2508

A Proof of Claim form ("Official Form B 410") can be obtained at the United States Courts Website:
http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any bankruptcy clerk's
office and may be used for filing a claim.

Dated: 10/24/19                                         s/ Jeanne Y. Jagow
                                                        P.O. Box 271088
                                                        Littleton, CO 80127
Case:19-17941-KHT Doc#:17 Filed:10/24/19                Entered:10/24/19 14:20:26 Page2 of 2


Aliases Page
Debtor aka(s):
aka R & L Investment, aka Long's Properties LLC, aka Rod's Place
